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IN THE UNITED STATES DISTRICT COURT
FOR 'I`HE ])ISTRICT ()F DELAWARE

PARTNERS HEALTHCARE SOLUTIONS
HOLDINGS, L.P.,

Plaintiff,
V.
UNIVERSAL AMERICAN CORP.,

Defendant.

C.A. No. 13-1767-RGA

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I)EFENI)ANT UNIVERSAL AMERICAN CORP.’S
ANSWERING BRIEF IN OPPOSITION TO PLAINTIFF’S MOTION
TO REMAND ACTION T() STATE COURT

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Dated: December 16, 2013
Public Version Filed: December 23, 2013

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Universal American Corp. (“Universal”) files this brief in opposition to the motion by

Partners Healthcare Solutions Holdings, L.P. (“APSLP”) to remand this Suit to state court.

Statement of Nature and Stage of Proceedings

This case arises out of APSLP’s fraudulent misrepresentations and omissions in
connection with the sale of Partners Healthcare Solutions, lnc. (“APS”) to Universal on March 2,
2012, for consideration that included more than 870 million of Universal’s NYSE-traded stock.
APSLP, along with its private equity fund owner GTCR Golder Rauner 11, L.L.C. (“GTCR”) and
APS’s former senior executives (together with APSLP, the °‘GTCR Defendants”), misled
Universal about APS’s massive failings in contract performance and compliance, misrepresented
the status of APS’s largest and most important customer contracts and made up phony new
business projections for Universal’s consumption that bore little resemblance to APS’s own
internal projectionsl Universal did not discover until after the transaction closed that key
representations in the Merger Agreement were false and that APS’s 2012 budget and new
business projections were a fantasy. Although Universal was told as late as February 29, 2012_
just two days before the closing_that APS was on trackr to earn $44.8 million of EBITDA in
2012, by just six weeks later, that figure had plummeted 40% and by year-end, APS’s 2012

EBITDA was only $8 million.

APSLP began this declaratory judgment action (the “Declaratory Action”) in the
Delaware Court of Chancery shortly before midnight on October 21, 2013, twelve hours before
Universal filed its federal securities fraud lawsuit, Universai Americnn Corp. v. Parmers
Healthcare Solutions Holdings, L.P., C.A. NO. l3-174l-RGA (the “Securities Fraud Action”), in
this Court. The Declaratory Action was intended to preempt the Securities Fraud Action; the

parties had been engaged in settlement discussions for months, and the GTCR Defendants asked
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Universal to hold off on filing its threatened federal securities fraud suit on the pretext that they
needed more time to prepare a counter-offer to Universal’s latest settlement demand On
October 28, 2013, Universal properly removed the Declaratory Action to this Court based on
federal question jurisdiction (D.l. 1.) On Novernber 27, 2013, Universal moved to dismiss the
Declaratory Action on the ground that it is entirely superfluous, since APSLP’s liability to
Universal will be fully adjudicated in the context of Universal’s damage claims asserted in the

Securities Fraud Action pending in this Court. (D.I. 11-14.)

APSLP now challenges Universal’s removal of the Declaratory Action, arguing that its
complaint does not raise a federal question Under the so-called “coercive action” doctrine,
however, the relevant inquiry for jurisdictional purposes is whether APSLP has alleged facts in
the Declaratory Action demonstrating that Universal, the true or “coercive” plaintiff, could bring
federal claims against APSLP. Here, not only could Universal raise federal claims, but, as
APSLP’s complaint makes clear, Universal repeatedly told APSLP that it would do so, and then
actually did file the Sccurities Fraud Action in this Coui't based on the same false representations
that APSLP has put at issue in the Declaratory Action. l\/loreover, while APSLP now says that it
seeks declarations only as to state law breach of contract issues, APSLP specifically alleged_lS
times*that it “does not have liability to [Universal] under any legal theory” (emphasis added).
Although APSLP seeks to recant those words here, their meaning is plains APSLP wanted the
state court to determine non-contractual claims, such as the federal securities claims asserted in
the Securities Fraud Action. 'l`hat language, as well as APSLP’s request for declarations on the
enforceability of an anti-reliance provision-a clause that has no bearing upon contract claims,
but is designed to preclude fraud claims-_make it crystal clear that the Declaratory Action

encompasses Universal’s fraud claims, including its federal securities fraud claims.

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Summary of Argument

1. Under the coercive action doctrine, a declaratory judgment complaint raises a
federal question if the declaratory defendant could have brought a coercive action against the
declaratory plaintiff under federal law. See Franchr`se Tax Bd. ofCal. v. Consrr. Lal)orers
Vacarr'on Trirslfor S. Cal., 463 U.S. l, 19 (1983); Honeywell lnt’l [nc. v. lnr’l Um`on, Um`red
Auto., Aerospace & Agric. lmplemenr Workers of./im., 502 F. App’x 201, 204 n.4 (3d Cir. 2012);
Sruart Wei`lzman, LLC v. Mr'crocomputer Res., Inc., 542 F.3d 859, 862 (1 lth Cir. 2008).

2. l-Iere, Universal could and, in fact, did bring a federal securities fraud claim
against APSLP. Universal had repeatedly threatened to bring such a claim before APSLP filed
the Declaratory Action seeking a declaration of non-liability “under any legal theory,” an
expansive and unqualified request for relief that plainly covers Universal’s federal securities
fraud claims. Moreover, because the Declaratory Action seeks declarations regarding the very
representations made by APSLP that are the subject of the Securities Fraud Action, the
Declaratory Action necessarily reaches Universal’s federal securities fraud claim, over which
this Court has exclusive jurisdiction See 15 U.S.C. § 78aa Removal was therefore proper.

Statement of Facts

A. APSLP And The Other GTCR Defendants Fraudulently Induce
Universal To Acquire APS

Universal is a publicly traded company that offers healthcare products and programs
primarily to people enrolled in the federal Medicare program. (Securities Fraud Complaint
(“Sec. Fraud Cornpl.”) (C.A. No. 13~1741-RGA, D.l. 1)1[116, 22.) APSLP is a holding company
controlled by private equity firm GTCR that formerly owned APS, a specialty healthcare
company providing care management, behavioral health, and disease management services to

state Medicaid agencies and private health plans. (ld. jill l, 11.) On l\/larch 2, 2012, Universal

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acquired APS from APSLP pursuant to an Agreement and Plan of Merger that had been executed
on January 11, 2012. (ld. 1111 57, 66.) Universal paid over $220 million in its own NYSE-traded

stock and cash to buy APS. (ld. 11 68.)

In acquiring APS, Universal relied upon a number of contractual representations and
warranties that (i) APS was not in breach of any of its material contracts; (ii) no counterparty had
indicated its intent to cancel a material contract; (iii) more specifically, APS was not in breach of
its contract with_ which was responsible for 40 percent of
APS’s revenues; (iv) APS was in compliance with applicable Healthcare Laws; (v) there had
been no Material Adverse Effect since its last audited financial statement; and (vi) APS owned
certain software that was key to its service offerings (Id. ‘i| 58 (citing l\/Ierger Agrecment §§ 3.9,
3.16, 3.17, 3.25 and 3,29)1) Universal also relied upon a 2012 budget projecting $44.8 million of
EBITDA, including 819.3 million from new business (Sec. Fraud Compl. 1l1[2-3, 51, 64(d),

92(¢).)

All of these representations turned out to be false, and deliberately so. The GTCR
Defendants knew but had fraudulently concealed that APS’ s largest customer, -, had
told APS that it was in default of the parties’ contract (ld. 1111 41-43, 58(a), (b).) APS was also
in breach of numerous other material customer contracts (See, e.g., id 1111 62(b), (c), 69(l},
90(g), 9l(g), 69(t), 90(f), 9l(f), 90(11), 91(1).) The pipeline of new business that APS was
supposedly likely or “highly likely” to obtain in 2012 turned out to be a phony set of projections
that had been concocted for Universal and bore no resemblance to the true internal estimates
(ld. 1111 3, 73-84.) During the period between the signing and the closing of the transaction, APS
lost millions of dollars of business, and a supposed long-term contract renewal with one major
customer that had in fact been put out to bid (and ultimately awarded to another company). (ld.

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jill 62(e), 9](e).) The purportedly “proprietary” software that APS owned was, in reality, largely

licensed (Icl. 1111 85-88.)

Given these and other undisclosed problems at APS, the GTCR Defendants’ repeated
assurances~right up until two days before closing_that APS was on target to meet its 844.8
million EBITDA target were patently false and misleading (Id. ii 70.) Within six weeks of
closing, APS informed Universal that it had slashed the 2012 EBITDA target by 40%, to $27.1
million. (ld.) Within four months of closing, APS told Universal that it would generate an
anemic $4.1 million of EBITDA in 2012. (Id.) After scrambling to cut expenses, APS was able
to eke out a meager 88 million of EBITDA by year-end, a financially disastrous 82% shortfall
(Id.)

B. APSLP Deceptively Races To The Courthouse In An Attempt To Preempt
Universal’s Securities Fraud Action

APSLP knew that Universal was going to bring federal securities fraud claims against it.
Specifically, APSLP alleges that it received two letters from Universal on l\/larch 1J 2013. (D.l.
l at Ex. l il 53.) One was a notice of Universal’s claim for indemnification Id. That letter
expressly reserved Universal’s rights to bring “securities fraud” claims (See Ex. A to Levander
Decl. in Support of Universal Motion to Dismiss (D.l. 14).) APSLP further alleges that the
second letter “outlined [Universal]’s ‘significant claims’ against APSLP and requested a
confidential meeting to discuss its investigation and claims.” (D.I. l at Ex. 1 ii 53.) In that letter,
Universal asserted unequivocally that it “was defrauded” by APSLP and GTCR and that “federal
securities law . . . will govern [its] claims.” (See Ex. l to the accompanying Declaration ofLinda

C. Goldstein.) Thereafter, Universal confirmed its intent to bring federal securities fraud claims

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at an April 3, 2013 meeting, in an August 22, 2013 letter, and throughout a mediation on

September 16-17, 2013. (See D.I. 1 at Ex. 1 1111 54-55, 57; Levander Decl. 1111 3-5; Ex. B.l)

After the mediation, the parties continued to engage in settlement efforts On October 8,
2013, Universal’s counsel conveyed a settlement demand to APSLP’s counsel. (Levander Decl.
11 7.) Having received no response, Universal told APSLP on October 17 that Universal would
file the Securities Fraud Action if it did not receive a response to its settlement demand on or
before Monday, October 21. (ld. 11117-8.) On October 20 and October 21, a principal of APSLP
and its counsel separately sought more time purportedly so APSLP could prepare a counter-offer,
to which Universal agreed. (ld. 1111 8-9; Ex. D.) At 10:33 p.m. on October 21, APSLP’s counsel
sent Universal’s counsel an email suggesting that the two talk at 10 a.m. the following day. (Id.
11 10; Ex. E`) Twenty-one minutes later, at 10:54 p.m., APSLP filed the Declaratory Action in
the Court of Chancery. (Id. 11 ll; Ex. F.) Universal’s counsel called APSLP’s counsel at 10 a.m.
the next day, only to be told that the Declaratory Action had been filed the previous night. (Id.
11 12.) Universal filed the Securities Fraud Action within the hour. (ld. 11 13; Ex. G.) The first
count of that complaint is a claim against APSLP for securities fraud under Section 10(b) of the
Securities Exchange Act of 1934 (the “Exchange Act”). (See Sec. F rand Compl. ‘111 123-30.)
Universal also alleges that APSLP is liable under the Merger Agreement for breach of its
obligation to indemnify Universal for breaches of the representations warranties and covenants

in the Agreement. (See i'd. 1111 167-75.)

 

1 Exhibits A through G are attached to the Declaration of Andrew J. Levander (D,l.

14).

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C. The Declaratory Action Is Duplicative Of The Securities Fraud Action And
Seeks Declarations Of Universal’s Federal Rights

As set forth more fully in Universal’s Motion to Dismiss, the Declaratory Action asserts
eighteen counts of exclusively declaratory relief against Universal arising from the very same
misrepresentations that are at issue in the Securities Fraud Action. (See D.l. 12 at 6-12.) All but
one of the counts seek a declaration that APSLP did not breach the applicable contractual
representations regarding a specific subject (in other words, that the contractual representations
on those subjects are true) and that APSLP is not liabie to Universal “under any legal theory.”
(See D.l. 1 at Ex. 11111230, 247, 271, 291, 306, 317, 333, 349, 361, 374, 386, 398, 410, 422, 450,

467, 479.)

APSLP also seeks declaratory relief with respect to alleged “extra-contractual
representations.” (Id. 11430.) For example, ASPLP alleges that it “made no representations or
warranties regarding future projections in the Merger Agreement,” that Universal’s “allegations
. . . do not constitute an actionable claim” and are allegedly barred by an “anti-reliance”
provision in the l\/lerger Agreement, and that APSLP is not liable “under any legal theory”
regarding the projections (Id. 1111 427-28, 430, 436, 439.) APSLP further attempts to preempt
Universal’s federal securities fraud claim on this subject by alleging that Universal did not

actually or reasonably rely on the projections (ld. 1111 432-33.)

Universal removed the Declaratory Action to this Court on October 28, 2013. (D.l. 1.)
Seeking to have the Court of Chancery interpret the “anti-reliance” provision (D.l 10 at 2)_an
issue squarely directed at Universal’s federal securities fraud claimmAPSLP has moved to
remand the Declaratory Action to state court. Because this Court has exclusive jurisdiction over

Universal’s federal securities fraud claims, it necessarily has jurisdiction over the Declaratory

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Action, which seeks judicial declarations going to the core of these claims This Court should
not countenance APSLP’s attempt to spawn competing litigations addressing the same core facts

and claims and should deny APSLP’s motion.

Argumcnt

This Court has federal question jurisdiction over APSLP’s complaint under the well-
established “coercive action” doctrine Under Third Circuit law, the relevant test is whether
APSLP has alleged facts in the Declaratoiy Action demonstrating that Universal could bring its
own federal law claim. Universal not only could bring a federal securities fraud claim, it
repeatedly told APSLP before APSLP filed the Declaratory Action that it was planning to bring
such a claim and then actually filed the Securities F rand Action based on the very Same
misrepresentations that APSLP has put at issue in the Declaratory Action.2 Moreover, while
APSLP now attempts to backpedal from its own allegations the Declaratory Action complaint

both facially and necessarily encompasses Universal’s federal securities fraud claim.

l. Removal Was Proper Under The Cocrcive Action l)octrine Because
Universal Could And Did Bring A Federal Claim

Universal properly removed APSLP’s Declaratory Action under the “coercive action”
doctrine The Supreme Court recognized this doctrine in the removal context in Franchi'se Tax
Boord, where it explained that “[f_|ederal courts have regularly taken original jurisdiction over

declaratory judgment suits in which, if the declaratory judgment defendant brought a coercive

 

2 APSLP’s contention that courts must “strictly construe” the removal statutes has

no bearing where, as here, the Court has both (i) federal question jurisdiction over Universal’s
Exchange Act claims and (ii) supplemental jurisdiction over Universal’s breach of contract
claims, which_if one accepts APSLP’s attempt to rewrite its complaint to include only contract
claims--rnirror the relief sought in the Declaratory Action. None of the cases cited by APSLP
for this purported rule of construction involved parallel proceedings where the action for which
remand was sought had the same conunon nucleus of facts as an existing federal action. (See
D.I.l 0 at 5.)

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action to enforce its rights, that suit would necessarily present a federal question.” Franchi'se

Tax Bd., 463 U.S. at 19.

Federai appellate courts, including the Third Circuit, applying the coercive action
doctrine have held that the relevant inquiry is whether the declaratory defendantmthe true
plaintiff-_-could file its own federal claim. The Third Circuit, for instance, recently concluded
that a district court had federal question jurisdiction over a declaratory judgment suit ‘“because
[the] complaint demonstrates that the [declaratory defendant] could seek coercive relief” under

either of two federal statutes Hoiieywell, 502 F. App’x at 204 n.4 (emphasis added).

The Third Circuit’s Horieywell decision quotes the Eleventh Circuit’s articulation of the
coercive action doctrine: “Federal question jurisdiction ‘exists in a declaratory judgment action
if the plaintiff has alleged facts in a well-pleaded complaint which demonstrate that the
defendant could file a coercive action arising under federal law.”’ Stuarr Wei'lzman, 542 F.3d at
862 (quoting Household Barik v. JFS Group, 320 F.3d 1249, 1251 (1 ith Cir. 2003)) (einphasis in
Siuarr Wei'rzman). In Household, the Eleventh Circuit noted that it was joining “seven of 1its1
sister circuits” in adopting this test. See 320 F.3d at 1251; see also Columl)i`a Gas Transmlssion
Corp. v. Drai'n, 237 F.3d 366, 370 (4th Cir. 2001) (“Because the complaint at issue does not
assert an affirmative cause of action arising under federal law, we must ask whether it seeks
declaratory relief on a matter for which [the declaratory defendant] could bring a coercive action
arising under federal law against [the declaratory plaintiff].”); Srandard Ins. Co. v. Salclad, 127
F.3d 1179, 1181 (9th Cir. 1997) (“111f the declaratory judgment defendant could have brought a
coercive action in federal court to enforce its rights, then we have jurisdiction.”) (internal
quotations and alterations omitted). Similarly, in Ki'dder, Peal)ody & Co. v. Maxus Energy
Corp., 925 F.2d 556, 562-63 (2d Cir. 1991), the Second Circuit held that the district court had

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properly exercised jurisdiction over an action for a declaration of non-liability under Sections
10(b) and 14(e) of the Exchange Act where the declaratory judgment defendant had sent a letter

threatening that it “might assert” such claims3

Universal’s removal of the Declaratory Action amply satisfies this test. As discussed
above, Universal not only could assert a claim under Section 10(b) of the Exchange Act against
APSLP arising out of the matters alleged in the Declaratory Action, it actually filed such a claim
in the Securities Fraud Action. l\/loreover, as APSLP acknowledges in its complaint by
referencing Universal’s March l, 2013 and August 22, 2013 letters that described Universal’s
potential claims_and as it openly admits in its brief_AP SLP filed the Declaratory Action with
full knowledge that Universal intended to assert federal securities fraud claims based on the same
operative facts (See D.l. 1 at Ex. 1 1111 53-54; D.l. 10 at 2 (“1Universal] had also threatened
APSLP with alleged federal claims of pre-closing representations under the Securities and
Exchange Act of 1934 . . . .”).) APSLP’s complaint further acknowledges that Universal paid for
APS with NYSE-traded stock. (See D.l. l at Ex. l 11 24.) Thus, because Universal could (and
did) bring a federal claim arising out of the same facts, this Court has jurisdiction and removal

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was proper.

 

3 APSLP pretends that Kidder supports its cramped view of the coercive action

doctrine by noting that the Second Circuit held that the district court should not have retained
pendent jurisdiction of certain state law claims after it resolved the federal securities claims
(D.I. 10 at 12-13.) That aspect of the case has no pertinence here because in Kidder, unlike here,
the judicial determination of the federal securities claims did not simultaneously resolve the state
law claims

4 APSLP tries to suggest that Universal’s federal securities claim is “tangential”

and that the GTCR Defendants’ fraud may not constitute securities fraud (D.l. 10 at 12.) The
suggestion, which has no support in the cited cases, is baseless An issuer that relies on false
representations to buy a company with its own stock states a claim for federal securities fraud
See Pages, lnc. v. Gruiier & Jalir Prinring & Pul)l ’g Co., No. 95-9703, 1996 WL 48586, at *1-2

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II. APSLP’s Complaint Encompasses Universal’s Federal Securities Fraud Claim

Hoping to setup dueling federal and state court lawsuits on overlapping issues, APSLP
argues that (l) it is “master of its complain ” and has “strictly limited” its complaint to “state law
breach of contract issues”; and (2) the coercive action doctrine does not apply because
Universal’s fraud claims are not “necessarily” or “inevitably” federal in nature. (See D.I. 10 at 2,
9, 11.) Neither argument withstands scrutiny.

A. On Its Face, APSLP’s Complaint Seeks Declaratory Relief With Respect To
Universal’s Federal Rights

APSLP’s contention that its complaint is confined solely to state law breach of contract
issues is belied by the plain language of the complaint APSLP alleges that it is not liable to
Universal ‘°under any legal theory” with respect to the subject matter of each of its 18 counts for
declaratory relief. APSLP now argues that Universal takes this language “out of context” and
that the words “under any legal theory” really mean only “claims that APSLP breached the
Merger Agreement.” (D.l. 10 at 5.) APSLP could have easily alleged that it is not liable to
Universal “under the Merger Agreernent” if that was all it intended, but it did not. Instead, it
couched its requests for a declaration of non~liability in the broadest manner possible, without
qualification

l\/[oreover, instead of tying its requests for declarations of non~liability to the spech

contractual representations at issue in each count, APSLP alleged more broadly that it has no

 

(S.D.N.Y. Feb. 7, 1996); See also Popovice v. Miiides, ll F. Supp. 2d 63 8, 641-42 (E.D. Pa.
1998) (part of “the fundamental purpose of § l0b and Rule 10b-5 is . . . to make sure . . . that
sellers of securities are not tricked in parting with something for a price known to the buyer to be
inadequate or for a consideration known to the buyer not to be what it purports to be”). More
broadly, a merger transaction that involves the transfer of shares is subject to § lO(b) of the
Exchange Act. See, e.g., Tracinda Corp. v. DaimierChrysler AG, 197 F. Supp. 2d 42 (D. Del.
2002)', MeCabe v. Emsr & Young, LLP, Civ. No. 01-5747, 2006 WL 42371 (D.N.J. ian. 6,
2006).

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liability “under any legal theory” with respect to the underlying facts ofeach count For

example,-addresses APSLP’s misrepresentations in connection with APS’S contract with

_, APS’s single largest contract Prior to the closing, a board member of -
_notified senior APS management that APS was in breach of the

parties’ contract in multiple respects, that APS would be fined, and that the contract might be
canceled. (see sea Fraud Compi. 111141-43; D.l. 1 ar Ex. 1 1111 _.) Yer, even
though APS, GTCR, and Universal met later that day, this critical information was concealed
from Universal. (Sec. Fraud Compl. jt 48(b).) Thereafter, APSLP made a number of false
representations in the l\/lerger Agreement, including, among others, that APS was not in breach
of the -contract (Section 3.29) and that none of APS’s counterparties had indicated an
intent to cancel, terminate or modify a material contract (Section 3.17). Just two weeks after the
merger closed, APS received a letter from- revealing the alleged contract deficiencies
that the GTCR Defendants had hidden from Universal. (Sec. Fraud Compl. 11 69(a).) APSLP
does not simply ask for a declaration that it has no liability for breaching the specific contractual
representations in the Merger Agreement. lnstead, APSLP seeks the far broader declaration that
it “does not have any liability to [Universal] under any legal theory with respect to-

added))_a request for relief encompassing ali potential claims that Universal could bring arising
out of the-episode, whether contractual or not.

APSLP is not the first declaratory judgment plaintiff to attempt to stave off removal by
recasting its complaint In Cctrson Real Estate Cos., LLC v. Constar Grp., inc., No. 10-13966,
2011 WL 4360017, at *l (E.D. l\/lich. Sept. l9, 2011), a dispute arose over alleged unauthorized

use of a computer database. Carson filed a state court declaratory judgment action seeking,

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among other things, a declaration that it did not ‘°take any action that would interfere with any
rights orproperty interests of [CoStar].” Ia'. at *4. CoStar removed the case to federal court on
the grounds that Carson’s complaint encompassed CoStar’s federal copyright claims. id at *2.
Carson moved to remand the action, claiming it had not expressly asserted a federal law claim.
Ici. at *3. The court rejected Carson’s argument as “disingenuous.” Ici. at *4.

ln reasoning equally applicable here, the court explained that “[a] lthough [Carson] had
not expressly requested a declaration that it had not violated any of [CoStar’s] copyrights, the
unqualified breadth of its request certainly encompassed [CoStar’s] copyrights.” Id. at *3. The
court further reasoned that “the context of the dispute between the parties unequivocally
demonstrates that Plaintiff s complaint encompasses [CoStar’s] copyrights” because CoStar had
previously sent Carson a letter threatening “causes of action under Federal and state law,
including without limitation copyright infringement” and had, in fact, filed a separate action
alleging copyright infringement Ia’. at *4. The court was similarly unmoved by Carson’s
argument that the crux of the action involved state law claims under a license agreement,
explaining that “any request for a declaration that there was no violation of [CoStar’s] federally
protected rightsweven if not a primary claim_is sufficient to support federal question
jurisdiction.” Id. at *5. Accordingly, the court concluded that Carson’s broad request for
declaratory relief “[fell] within the heartland of declaratory claims for which there is
unquestionably ‘arising under federal law’ jurisdiction.” Id. (citing Frartchise Tax Bci., 463 U.S.
at 19).

Sirnilarly, in Broeato v. Arigelo Brocato lee Cream & Confectionery, Inc. , No. 03-1316,
2003 WL 2203 8402 (E.D. La. Aug. 25, 2003), the court rejected the declaratory judgment

plaintiffs’ argument that their action related solely to state law and therefore denied their motion

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to remand Citing Franchise Tax Board, the court explained that the “law is now well-settled
that when a state law declaratory judgment action is removed to federal court, it is the nature of
the threatened coercive action that determines whether federal jurisdiction exists.” Id at * l.
Thus, notwithstanding that the plaintiffs were “careful to avoid any express reference to federal
law in their petition,” the court held that the action arose under federal law because they brought

it as a “preemptive measure” in response to a letter threatening federal trademark claims. Ici.5

.l ust as in Cnrson and Brocato, APSLP brought its Declaratory Action with full
knowledge that Universal was planning to bring a federal law claim. Here, as in Cnrson and
Brocato, the language and surrounding context of APSLP’s complaint_including its subterfuge
to secure nominal “ftrst-filed” status_make it clear that the Declaratory Action complaint was
intended to encompass Universal’s federal securities fraud claim. Similar to the language in
Carson, APSLP’s unqualified assertions that it is not liable to Universal “under any legal theory”
mean exactly what the plain words say. APSLP should be held to its claim that it is the “master

of its complaint,” and not be permitted to avoid federal jurisdiction by rewriting it. (D.I. 10 at 9.)

B. APSLP’s Reliance And Exclusive Remedies Defenses Are Obvious Attempts
To Preempt Universal’s Federal Rights

While the complaint’s “under any legal theory” mantra is reason alone to reject APSLP’s
argument, APSLP betrays its true purpose of precluding Universal’s federal securities claims in

other ways as well. APSLP concedes that it “filed this lawsuit to enforce the Merger

 

5 Universal cited Carson and Brocato in its Notice of Removal, but APSLP makes

no attempt to grapple with these authorities in its motion to remand lnstead, APSLP purports to
distinguish Carson on the ground that it concerns the Copyright Act and Brocato on the ground
that it concerns federal trademark law, while the present case concerns a different federal statute,
the Exchange Act. (D.I. 10 at 12 n.2.) APSLP does not explain why this difference has any
bearing on whether there is federal question jurisdiction here.

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Agreement’s express disclaimer of any representations and warranties outside the agreement and
corresponding ‘anti-reliance’ provision.” (D.I. 10 at 2.) But such arguments are irrelevant to
whether APSLP has breached any contractual representations or warranties, since reliance is not
an element of a breach of contract claim under Delaware law. See, e.g., Gutria'ge v. Wlaria’, No.
291, 2005, 2005 WL 3454129, at *4 (Del. Dec. 15, 2005) (because “reliancc is not an element”
of breach of contract, lower court “erred in dismissing the Buyer’s breach of contract ciaim”);
lrrterim Healtheare, Irie, v. Spheriori Corp., 884 A,2d 513, 548 (Del. Super. Ct.) (“The Court will
not . . . require the plaintiffs to prove that they were justified in relying upon [the defendant’s]

representations and warranties as set forth in the Agreement.”), aff’d, 886 A.2d 1278 (Del. 2005).

By contrast, reliance is an element of Universal’s fraud claims, including its federal
securities fraud claim. See, e.g., Stoneridge Irtv. Partriers, LLC v. Seientific-Atiarita, Irtc., 552
U.S. 148, 159 (2008). The enforceability of the anti-reliance and exclusive remedies provisions
in the Merger Agreement against Universal’s securities fraud claims is, however, unequivocally
a matter of federal law. Section 29(a) of the Exchange Act provides that ‘°[a}ny condition,
stipulation, or provision binding any person to waive compliance with any provision of this
chapter or of any rule or regulation thereunder . . . shall be void.” 15 U.S.C. § 78cc(a). The
Third Circuit has held that “enforcement of the non-reliance clauses to bar [plaintiff’ s] fraud
claims as a matter of law would be inconsistent with Section 29(a).” AES Corp. v. Dow Chem.
Co., 325 F.3d 174, 180 (3d Cir. 2003). Thus, APSLP’s claim that its “complaint is strictly

limited to state law breach ofcontract issues” is, at best, implausible6

 

6 Even under Delaware state law, contractual limitations on remedies do not apply

where the seller of a company knowingly made false statements in the contract or engaged in
“conscious participation in the communication of lies to the Buyer.” Abry Partriers V, L.P. v. F
& WAcquisitiori LLC, 891 A.2d 1032, 1064 (Del. Ch. 2006).

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C. APSLP’s Complaint Necessarily Goes Te The Heart Of` Universal’s Federal
Securities Claim

APSLP’s argument that the coercive action doctrine does not apply because the subject
matter of the claims at issue is not “necessarily” or “inevitably” federal in nature is also flawed
As discussed above, as long as the true or coercive plaintiff could assert a federal claim, the
federal court has jurisdiction over the corresponding declaratory action. Accordingly, courts
have rejected the notion that the “anticipated coercive action would have to be federal in nature.”
Householo’ Barik, 320 F.3d at 1254 (holding that district court had jurisdiction over declaratory
judgment action where coercive plaintiffs could assert both federal and state law claims)

(emphasis in original).

More importantly, APSLP’s argument ignores the overlapping nature of the federal and
state law claims at issue. As APSLP notes, “[t]he extent to which a state law claim necessarily
raises a federal issue is inherently a question of degree, requiring a pragmatic judgment based on
the particulars of the individual case.” (D.I. 10 at 11 (quoting NACCO Indus., Inc. v. Appiieo
Inc., 997 A.2d 1, 24 (Del. Ch. 2009).) Similarly, the court in City ofPittsburgh v. UPMC,
another case cited by APSLP, explained that the coercive action doctrine applies when there is
“some degree of congruence between the declaratory judgment action[] and the hypothetical (or

real) coercive action{].” No. 13-565, 2013 WL 4010990, at *4 (W.D. Pa. Aug. 6, 2013).

This case involves precisely such a nexus. Even assuming that APSLP was trying to
limit its complaint to declarations regarding state law breach of contract claims (which it did
not), there is no way meaningfully to separate the resolution of such claims from the resolution
of Universal’s federal securities claim. A judicial determination that a particular contractual
representation was true would simultaneously preclude both a state law breach of contract claim

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and a fraud claim under Section 10(b) of the Exchange Act because both claims rely on the same
representation Nor should Universal have to prove the same claims twice in two different courts

based on the same facts

Accordingly, this case is unlike Care Corp. v. Kida'ie Care Corp., 344 F. Supp. 12, 16-17
(D. Del. 1972), on which APSLP relies so heavily. ln Care Corp., the true plaintiff asserted
distinct claims for relief: a state claim that the issuance of stock had violated the Delaware
General Corporation Law, and a federal claim that the true defendants had violated Section 10(b)
of the Exchange Act. Ici. at 14. The declaratory plaintiff sought a declaration only that the
issuance of stock “was in full compliance with Delaware law.” Ia'. ln ruling that the particular
state claim in that case should be heard in state court, the federal court emphasized that
“allowing the declaratory plaintiff to state his own case” did not mean “in the context of this case
that [the true plaintiff] will be deprived of a federal determination of its federal claim.” Ia’. at 17.
lndeed, although the court acknowledged that “sorne facts” alleged in the two cases might
overlap, the court specifically noted that “[t]he legal standards [werej different and the relevant

facts [would] differ.” Ia'. at 17 n.4 (emphasis added).

This case is just the opposite Here, a determination of APSLP’s claims in its favor
would strike at the very heart of Universal’s federal securities claim, Unlike the declaratory
defendant in Care Corp., Universal would indeed be “deprived of a federal determination of its
federal claim.” Care Corp., 344 F. Supp. at 17. Accordingly, far from supporting APSLP’s

position, Care Corp. ’s logic favors federaljurisdiction because if APSLP prevails on its state law

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claims, it would effectively deprive Universal of its exclusive federal forum for its federal

securities fraud claims.7

CONCLUSION

Because this Court has federal question jurisdiction over APSLP’s Declaratory Action,
Universal respectfully requests that this Court deny APSLP’s motion to remand this action to
state court and, for the reasons stated in Universal’s Brief in Support of lts Motion to Dismiss

(D.I. 12), dismiss the Declaratory Action in its entirety.8

 

7 The other cases on which APSLP relies are all off the mark. Cooper Industries,

LLC v. ABB Holdings, Inc., No. H-09-3534, 2010 WL 173547 (S.D. Tex. lan. 14, 2010), did not
implicate the coercive action doctrine because the party seeking declaratory relief was, in fact,
the true plaintiff Ia'. at * l. ln that setting, the plaintiff was free to choose between state and
federal remedies Nor was the coercive action doctrine at issue in Borek v. Weinreb
Managernent, 933 F. Supp. 357 (S.D.N.Y. 1996), another case where the declaratory plaintiff
was the true plaintiff Moreover, the issue in Borek was whether a state cause of action was
completely preempted~»a claim Universal does not make here. See id. at 360-62. Hunter
Doagias Inc. v. Sheet Metai Workers lnternational Ass ’n, Local 159, 714 F.2d 342, 345 (4th Cir.
1983), is another preemption case, and therefore inapposite NAA CO Industries did not address
the coercive action doctrine; instead, it addressed the issue of whether a state law fraud claim
could be based on false statements made in a federal securities law filing. See 997 A.2d at 20-
25.

8 in its motion, APSLP also seeks attorneys’ fees and costs under 28 U.S.C.

§ 1447(0). APSLP does not even try to support this meritless request in its brief. The entrenched
coercive action doctrine is an “objectively reasonable basis for seeking removal,” which
precludes an award of fees and costs Martin v. Franklin Capital Corp., 546 U.S. 132, 141
(2005); see also FirstAm. Titie Ins. Corp. v. JP Morgan Chase & Co., 384 F. App’x 64, 66 (3d
Cir. 2010) (reversing award of attorneys’ fees for abuse of discretion, citing Martin).

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CERTIFICATE OF SERVICE

I hereby certify that on Deccrnber 16, 2013,1 caused true and correct copies of the

foregoing document to be filed with the Clerl< of Court using Cl\/l/ECF, which will send

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